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                                                     November 13, 2020

VIA CM/ECF ELECTRONIC FILING
The Honorable Colm F. Connolly
United States District Court
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801

       Re: Uniloc USA, Inc.et al v. Motorola Mobility, LLC, C.A. No. 1:17-cv-01658-CFC

Dear Judge Connolly:
       Uniloc Luxembourg and Uniloc USA (“Legacy Plaintiffs”) oppose Motorola’s request,
D.I. 106, to file a response supplementing its previous submission, D. I. 101.
        On October 27, 2020, the Court invited the parties to submit letter briefs addressing two
questions. D. I. 100. In particular, the Court asked which of the Uniloc entities had standing on
November 15, 2017 (the date this action was filed) to sue for infringement that occurred before
May 16, 2017 (the date the Uniloc entities acquired the patent-in-suit). The Court’s inquiry was
clearly directed to the question of who had standing to sue for past infringement, i.e.,
infringement that occurred before Hewlett-Packard assigned the patent. Motorola had its
opportunity to provide a complete answer; it failed to do so and should not be given a mulligan.
       But if the Court allows Motorola’s further submission, Legacy Plaintiffs submit the
following response:
        As previously argued, Fortress would have had no right to sublicense until May 16, 2017,
the date the patent was assigned to Legacy Plaintiffs. But Motorola, in its Response, asks the
Court to read into the Patent License document a right to issue a “retroactive” sublicense, which
would take away from Legacy Plaintiffs their right to obtain damages for past infringement.
There are various problems with Motorola’s argument.
        In the drafting of legal documents, the term customarily used to absolve liability for past
infringement is “release.” By contrast, a “license” is regarded as prospective. Waterloo Furniture
Components v. Haworth, Inc., 467 F.3d 641, 647 (7th Cir. 2006) (“Courts have recognized the
prospective quality of a patent license, which allows another party to use the patentee’s property
in the future without fear of suit.”); Wang Labs, Inc. v. Oki Elec. Ind. Co., Ltd., 15 F. Supp. 2d
166, 172 (D. Mass. 1998) (“the concepts of both royalty and license are necessarily prospective,
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rendering a ‘retroactive royalty agreement’ a legal nullity”); Universal Oil Prods. v. Vickers
Petroleum Co. of Del., 19 A.2d 727, 729 (“It is somewhat difficult to understand what is meant
by a ‘retroactive implied license.’ A license in its very nature is prospective in operation”).
Motorola posits no reason why the parties to the Patent License would have departed from
convention in drafting it.
       Further, nothing in the Patent License itself, or in the circumstances underlying it, would
suggest the parties to that document intended to include a “retroactive” component to the right to
sublicense, which would only arise in the event of default. If anything, the opposite conclusion
would be reached, because issuing a “retroactive” sublicense would only make the situation
worse by taking away any right, by anyone, to recover for past infringement. Further, doing so
would be “imposing financial … restrictions” on the patent owner, and thus require the patent
owner’s prior written approval to the issuing of a sublicense. D.I. 58, Ex. B, § 2.2(x). That would
undermine Motorola’s argument there was an “unfettered” right to sub-license.
        Motorola nevertheless argues the Court should read in a right to issue a “retroactive”
sublicense because “there would be no [other] reason for the Agreement to extend past patent
expiration,” as provided by §5.2. To the contrary, the reason §5.2 extends the Agreement to the
date on which “all statutes of limitations have fully run for bringing infringement claims” is to
extend the period during which §4 of the Agreement gives Licensor the sole right to bring
infringement actions.
                                      Respectfully submitted,

                                                     /s/ Thomas H. Kramer
                                                     Thomas H. Kramer

cc:    All counsel of record




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